
46 So.3d 626 (2010)
Christopher J. STALLWORTH, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-2674.
District Court of Appeal of Florida, First District.
October 15, 2010.
Christopher J. Stallworth, pro se, Petitioner.
Bill McCollum, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition is granted and Christopher Joseph Stallworth is hereby afforded a belated appeal from judgment and sentence in Escambia County case number 2008-CF-1781A. Upon issuance of mandate in this cause, case number 1D09-5347 *627 shall be reinstated by the clerk of this court.
PETITION GRANTED.
WEBSTER, DAVIS, and VAN NORTWICK, JJ., concur.
